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                     UNITED STATES DISTRICT COURT

                     DISTRICT OF COLUMBIA
------------------------------------X
UNITED STATES OF AMERICA,           :     Criminal No. 21-cr-40 (TNM)
                                    :
          v.                        :
                                    :
PATRICK MCCAUGHEY III,              :
                                    :
               Defendant.           :     May 5, 2021
------------------------------------X

         CONSENT MOTION TO REPLACE REAL ESTATE SURETY

      The Defendant Patrick McCaughey III respectfully moves the real property

to be liened as a condition of his release be changed from the defendant’s father’s

South Salem, NY property (approximately $450,000 in equity) to the defendant’s

grandmother’s property known as 52 Hillside Avenue, New Canaan, CT 06840

(equity of approximately $725,000).       The reason for this request is that

undersigned counsel just learned that Westchester County, NY imposes a 1/3%

“Mortgage Tax” on any recording that involves a real estate lien, which would cost

the defendant approximately $6,000.00, whereas in Connecticut, the recording

fees are less than $100.

      The government CONSENTs to this request.

Dated:      Stamford, Connecticut
            May 4, 2021
                                          By:   /s/
                                                Lindy R. Urso
                                                Attorney at Law
                                                Bar No.: ct 20315
                                                810 Bedford Street, Suite 3
                                                Stamford, CT 06901
                                                Tel: (203) 325-4487
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                  CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was filed and

  served electronically on all parties of record, on this 5th day of

  May in the year of our Lord 2021.


                         _________/s/__________________________
                         Lindy R. Urso
